Case 2:23-mj-00351 Document 1 Filed on 05/06/23 in TXSDyjnitaostategic8urts Southern
District of Texas

FILED
UNITED STATES DISTRICT COURT 5/6/2023
SOUTHERN DISTRICT OF TEXAS Nathan Ochsner, Clerk of Court
UNITED STATES OF AMERICA
Vs CRIMINAL COMPLAINT

Eloy Arechiga Jr.
Case Number: C-23-0351M

I, the undersigned complainant state that the following is true and correct to the best of my

 

knowledge and belief. On or about May 5, 2023 in ___Brooks__ County, in the
(Date)
Southern District of Texas, defendant, Eloy Arechiga Jr.

did knowingly or in a reckless disregard of the fact that an alien had come to, entered, or remained in the United
States in violation of law, transport, or move or attempt to transport or move such alien within the United States by
means of transportation or otherwise, in furtherance of such violation of law

 

 

in violation of Title 8 United States Code, Section(s) 1324
| further state that | am a(n) Border Patrol Agent and that this complaint is based on the
Official Title

following facts:

See Attached Affidavit of U.S. Border Patrol Agent Vanessa Prado

Continued on the attached sheet and made a part of this complaint: [x ]ves [7 ]No

NK

Signature of Complainant
Submitted by reliable electronic means, sworn to, signature Vanessa Prado
attested telephonically per Fed.R.Crim.P.4.1, and probable cause Printed Name of Complainant
found on the:

 

 

May 6, 2023 at Corpus Christi, Texas
Date City and State

Mitchel Neurock U.S. Magistrate Judge 4 Yih bel,

Name and Title of Judicial Officer Signature of Judicial Officer

 

cs,

 

 
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AFFIDAVIT

The information contained in this report/affidavit is based upon my personal participation in the
investigation, which included, but is not limited to information relayed to me by other agents and
officers participating in the investigation.

FACTS/DETAILS:

On May 5, 2023, approximately 6:00 a.m., a 2017 Ford F150 entered the primary immigration
inspection lane at the United States Border Patrol Checkpoint, near Falfurrias, Texas. The
driver, later identified as Eloy Arechiga Jr., greeted the primary agent by last name. The primary
agent noticed a hat on ARECHIGA’s dashboard and began to ask about it. At this time, the
primary agent noticed ARECHIGA began to avoid eye contact. The primary agent asked
ARECHIGA for consent to X-Ray his vehicle. ARECHIGA responded by stating he was in a
hurry and requested for the X-Ray to be conducted on Monday. Prior to the primary agent
concluding the immigration inspection, ARECHIGA attempted to drive forward. The primary
agent asked ARECHIGA for an identification card and ARECHIGA was able to provide a Texas
Commercial Driver License Card. The primary agent noticed ARECHIGA had trouble
producing his card and ARECHIGA’s hand shaking. During this interaction, the primary agent
was informed of the service canine alerting to ARECHIGA’s vehicle. The primary agent asked
ARECHIGA if he was a United States citizen and ARECHIGA stated, “Yes.” The primary
agent instructed ARECHIGA to park in the secondary inspection area due to the canine alert.

Once in the secondary inspection area, the canine handler and his service canine performed a
systematic search of ARECHIGA’s vehicle. During a search of the vehicle, two individuals
were concealed in a toolbox which was in the bed of ARECHIGA’s truck. This toolbox was
locked, and a key was needed to open it. The two individuals were determined to be illegally
present in the United States and citizens of Guatemala. The two individuals and ARECHIGA
were placed under arrest and escorted into the checkpoint for processing.

MIRANDA RIGHTS WARNING:
All subjects were advised of their Miranda Rights in their respective languages.
PRINCIPAL STATEMENT (Eloy Arechiga Jr.):

ARECHIGA stated a friend, “El Monkey”, asked him to transport illegal aliens to San Antonio,
Texas. On Wednesday, the deal between himself and “El Monkey” was discussed in person at a
Walmart parking lot located in Sharyland, Texas. ARECHIGA said he was going to get paid
approximately $1,000 to smuggle these individuals. ARECHIGA stated the morning of this
event (May 5"), he traveled to a Sam’s parking lot located in Pharr, Texas and met with two
unknown males. ARECHIGA said the two unknown males placed two individuals inside his
toolbox. ARECHIGA stated the two unknown males left immediately after transferring the two
individuals into ARECHIGA’s toolbox. ARECHIGA said he then locked the toolbox and
traveled north. ARECHIGA stated he only stopped once at the Loves Travel Center in order to
make sure the toolbox was still secure.

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MAT-WIT STATEMENT: (Juan Gomez-Marroquin):

GOMEZ stated he illegally crossed into the United States and was taken to an unknown house.
GOMEZ stayed at this house for six days. GOMEZ was then moved to a second house and
stayed there for two days. GOMEZ stated the driver of the truck he was arrested in arrived at the
house and told them to get into the toolbox. GOMEZ stated the driver told them it would be a
two-hour drive and to stay quiet. GOMEZ said his destination is New York but they were
traveling to San Antonio at this time. GOMEZ stated they did not have any food or water inside
the toolbox, and he feared for his life. GOMEZ was able to identify ARECHIGA in a photo
lineup.

MAT-WIT STATEMENT: (Lester Galicia-Santiago):

GALICIA stated he illegally crossed into the Untied States approximately three days ago.
GALICIA said after crossing he was taken to an unknown warehouse where he stayed for three
days. GALICIA stated he departed the warehouse in the early morning hours and was taken to
an unknown location. This location was approximately thirty minutes away from the warehouse.
At this location, GALICIA was placed inside the toolbox by the driver of the truck. GALICIA
was asked how he was sure this individual was the driver of the truck he was arrested in, and
GALICIA said he arrived driving the truck. GALICIA said all the driver told them was,
“Vamanos.” GALICIA was able to identify ARECHIGA in a photo lineup.

DISPOSITION:

The facts of this case were presented to the Assistant United States Attorney’s Office who
accepted Eloy Arechiga Jr. for prosecution of 8 USC 1324, Alien Smuggling. Juan Gomez-

Marroquin and Lester Galicia-Santiago will be held as material witnesses.

Vanessa M. Prado
Border Patrol Agent

Submitted by reliable electronic means, sworn to, signature
attested telephonically per Fed.R.Crim.P.4.1, and probable
cause found on this day May 6, 2023

Mitchel Neurock
United States Magistrate Judge

 

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